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14   CHARLES MATTHEW KEEN
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15
16                                   UNITED STATES DISTRICT COURT
17                              CENTRAL DISTRICT OF CALIFORNIA
18
19   DAWN KNEPPER, on behalf of herself              Case No. 8:19-cv-00060-JVS-ADS
     and all others similarly situated,
20                                                   DEFENDANTS’ MEMORANDUM
                        Plaintiff,                   OF POINTS AND AUTHORITIES
21                                                   IN SUPPORT OF PETITION TO
            vs.                                      COMPEL INDIVIDUAL
22                                                   ARBITRATION AND MOTION TO
     OGLETREE, DEAKINS, NASH, SMOAK                  STAY ALL PROCEEDINGS
23   & STEWART, P.C., CHARLES
     MATTHEW KEEN & KIM FRANKLIN                     Date:         February 25, 2019
24   EBERT,                                          Time:         1:30 p.m.
                                                     Courtroom:    10C
25                      Defendants.                  Judge:        Hon. James V. Selna
26                                                   Complaint Filed:      January 12, 2018
                                                     Trial Date:           Not yet set
27
28
                                                                       DEFENDANTS’ PETITION TO
     Case No. 8:19-cv-00060-JVS-ADS                     COMPEL IND. ARBITRATION AND MOTION TO
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1    I.       INTRODUCTION
2             Plaintiff Dawn Knepper, an experienced employment-law litigator and former non-
3    equity shareholder in the law firm of Ogletree, Deakins, Nash, Smoak & Stewart, P.C.,
4    sued in the Northern District of California in derogation of her contractual promise to
5    arbitrate any disputes she may have with the Firm and/or any of its shareholders. Judge
6    Orrick held that Knepper bound herself to that arbitration agreement by failing to opt out
7    of it when given the opportunity. Dkt. 74.1 Because the agreement called for Knepper to
8    arbitrate where she worked, in Orange County, Judge Orrick transferred the case to this
9    Court.
10            This Court now should compel arbitration. The arbitration agreement lawfully
11   delegated to the arbitrator the question of the agreement’s enforceability. Therefore, after
12   addressing two gateway issues reserved to it—(i) whether the arbitration agreement
13   covers the claims asserted, and (ii) whether the class/collective-action waiver is
14   enforceable—this Court should grant Defendants’ petition, order arbitration of claims
15   Knepper brought on an individual basis, and stay the Private Attorneys General Act
16   representative claim (in count 8), pending the outcome of the arbitration. See infra
17   Sections II., III. and IV.A.
18            This Court need not do more than decide those threshold issues. If Knepper still
19   wishes to pursue her pending motion for leave to file a Second Amended Complaint (Dkt.
20   52-1) to add new claims, defendants, or plaintiffs, this Court should deny the motion
21   without prejudice for the reasons set forth in Section IV.B. Other courts have done just
22   that with a plaintiff who seeks to expand a case, like this one, that should have been filed
23   in arbitration in the first instance. To the extent Knepper herself seeks to add new
24   individual claims or defendants, she must pursue a motion for leave to do so with the
25   arbitrator. This Court is not the proper venue for Alicia Voltmer who worked in Texas,
26   or Jocelyn Campanaro and Angelica Ochoa who worked in Colorado. See 28 U.S.C. §
27   1391(b). Knepper wants to add them to two counts that she may adjudicate only in an
28   1
         All docket (Dkt.) references are to Northern District Case No. 3:18-CV-00303-WHO.
                                                                         DEFENDANTS’ PETITION TO
     Case No. 8:19-cv-00060-JVS-ADS             -1-       COMPEL IND. ARBITRATION AND MOTION TO
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1    individual arbitration—violation of the federal Equal Pay Act and breach of fiduciary
2    duty. Nor is this Court the proper forum for the proposed claims of former California
3    equity shareholder Tracy Warren, who signed an agreement requiring her to arbitrate her
4    claims in or near San Diego.
5    II.    FACTUAL AND PROCEDURAL BACKGROUND
6           Knepper sues in derogation of her arbitration agreement, as shown below. Judge
7    Orrick’s opinion, rendered after consideration of a detailed record, briefs and
8    supplemental briefs, and oral argument, accurately summarized the facts and procedural
9    history, which are set forth in further detail below.
10          A.      In 2016, Ogletree Created An Opt-Out Arbitration Program For All
11                  Non-Equity Shareholders And Other Personnel.
12          Ogletree is a labor-and-employment law firm with over 50 offices in 28 states, the
13   District of Columbia, the U.S. Virgin Islands, Canada, Mexico, and Europe. Straky Decl.
14   ¶ 2. Knepper has been practicing law for approximately 18 years, 13 as an employment-
15   law litigator at Ogletree, where she worked in two of its offices: San Antonio, Texas
16   (from 2005 to 2011) and Orange County, California (as a non-equity shareholder from
17   2012 through her resignation in January 2018). First Am. Compl. (Dkt. 33) ¶¶ 5-6, 56;
18   Straky Decl. ¶ 4. Knepper has defended employers in employment discrimination,
19   harassment, and retaliation cases, where she prepared motions to compel arbitration, and
20   advised employers with respect to employee arbitration programs and agreements.
21   Straky Decl. ¶ 5.
22          Judge Orrick carefully analyzed Ogletree’s arbitration program. Dkt. 74. On
23   January 15, 2016, Ogletree sent a notice to Knepper and all other non-equity shareholder
24   personnel (including both lawyers and administrative staff) at their Firm email addresses.
25   The notice explained and attached two documents: (i) Ogletree’s Open Door Policy, and
26   (ii) a Mutual Arbitration Agreement (“Agreement”). Id. ¶ 6, Exhs. A-C; Berger Decl. ¶
27   3, Exh. A. The notice and attached Open Door Policy reminded the recipients of the
28   Firm’s policy against discrimination and retaliation and identified resources for
                                                                            DEFENDANTS’ PETITION TO
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1    employees if they had a workplace concern or issue. The notice and attached documents
2    further explained that, in the event a dispute could not be resolved internally, Ogletree’s
3    arbitration program would apply to any future claims recipients might bring against
4    Ogletree or its shareholders (or that Ogletree might bring against any of them), if they:
5    (i) continued to work for Ogletree, and (ii) did not opt out of the program within six
6    weeks (that is, by March 1, 2016). Straky Decl. ¶¶ 6-7, Exhs. A & C.
7           The notice summarized the key provisions of the Agreement as follows:
8                  Both you and the Firm are agreeing to the arbitration of any disputes (with
9                   certain limited exceptions) before a neutral arbitrator. This means that both
10                  parties agree to waive their right to a trial in a court before either a judge or a
11                  jury.
12                 The arbitration will be administered by the American Arbitration
13                  Association, a respected national provider of dispute-resolution services.
14                 The arbitrator has the same authority as a judge would have to award relief
15                  to individual claimants based on applicable laws and regulations.
16                 It is a mutual agreement, and it is a binding contract.
17                 Ogletree Deakins pays the costs of the arbitrator and the arbitration agency
18                  in excess of whatever the filing fee for filing a case in court would have
19                  been.
20                 Each party would pay his/her/its own attorney’s fees, though the arbitrator
21                  would have the same right as a judge to award costs and fees to the
22                  prevailing party.
23   Straky Decl. ¶ 6, Exh. A, pp. 6-7. The notice further explained that the “attached Mutual
24   Arbitration Agreement is an important legal document, and [the recipient] may wish to
25   seek guidance from private legal counsel.” Id. at p. 7. It also informed recipients that
26   Ogletree’s Director of Human Resources would be available to answer any questions. Id.
27          Recipients saw in three separate places that they would be bound by the Agreement
28   unless they opted out of it. First, the notice stated:
                                                                             DEFENDANTS’ PETITION TO
     Case No. 8:19-cv-00060-JVS-ADS              -3-          COMPEL IND. ARBITRATION AND MOTION TO
                                                                               STAY ALL PROCEEDINGS
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1                   You have the right to opt out of the arbitration program if you
2                   wish. To do so, you must sign an Opt-Out form and return it to
3                   Kay Straky, the Firm’s Director of Human Resources via email
4                   to Kay.Straky@ogletreedeakins.com, on or before March 1,
5                   2016.
6
                    The Opt-Out form is available under the “Resources” tab on the
7
                    OD Connect homepage of the Firm’s Human Resources
8
                    Department. If you do not return an Opt-Out form by March 1,
9
                    2016 and remain employed by the Firm after that date, you will
10
                    be deemed to have accepted the terms of the Agreement.
11
     Id., Exh. A, p. 7. (emphasis added).
12
            Second, the Agreement itself restated the instructions for opting out and repeated
13
     that failure to do so by March 1, 2016, and continuing to work thereafter, constituted
14
     acceptance of the Agreement:
15
                    Opt Out. Individual may opt out of this Agreement by
16
                    delivering a completed and signed Opt-Out Form to the
17
                    Director of Human Resources on or before March 1, 2016.
18
                    Opt-Out Forms and instructions on how to return them are
19
                    available on the OD Connect home page of the Human
20
                    Resources Department, under the “Resources” tab. Failure to
21
                    deliver an executed Opt-Out Form on or before March 1, 2016,
22
                    and continued employment with the Firm after that date, shall
23
                    be deemed acceptance of the terms of this Agreement.
24
     Id., Exh. C, p. 11 (emphasis added).
25
            Third, the Open Door Policy informed employees that the Agreement “is a separate
26
     and binding contract between the Firm and all employees who have not elected to opt out
27
     of it during the applicable opt-out period.” Id., Exh. B (emphasis added).
28
                                                                          DEFENDANTS’ PETITION TO
     Case No. 8:19-cv-00060-JVS-ADS             -4-        COMPEL IND. ARBITRATION AND MOTION TO
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1           The Agreement explained that it “is made in the course of interstate commerce;
2    [and] that any arbitration under this Agreement is governed by the Federal Arbitration
3    Act, 9 U.S.C. § 1 et seq.” Id., Exh. C, p. 11, § 9.
4           Recipients were requested to acknowledge receipt of the documents, but the
5    arbitration contract was formed with or without that acknowledgment: “Failure to deliver
6    an executed Opt-Out Form on or before March 1, 2016, and continued employment with
7    the Firm after that date, shall be deemed acceptance of the terms of this Agreement.” Id.,
8    Exh. C., p. 11, § 11.
9           B.      After Receiving Notice Of The Arbitration Program, Knepper Was
10                  Reminded—Twice—Of The Opt-Out Opportunity, But She Chose Not
11                  To Opt Out.
12          Knepper has claimed that she did not know she had been sent an arbitration
13   agreement. Irrefutable evidence proves otherwise, and Judge Orrick so held.
14          Knepper’s email account at the time (“Dawn.Knepper@ogletreedeakins.com”)
15   received the notice and attachments on January 15, 2016, at 4:47 a.m. Pacific Time (7:47
16   a.m. Eastern Time). Berger Decl. ¶¶ 3-5, Exhs. A-B. The “read receipt” message from
17   Knepper’s email account shows it was opened that day, at 6:32 a.m. Pacific Time.
18   Berger Decl. ¶ 6, Exh. C.
19          On January 27, 2016, Vicki Myers, the Office Administrator for Ogletree’s Orange
20   County office, forwarded the January 15, 2016 email and attachments (Straky Decl.
21   Exhibits A-C) to all original recipients in that office (including Knepper), and stated:
22                  If you haven’t already done so, please sign and return a copy of
23                  the Mutual Arbitration Agreement to me as soon as possible.
24                  Also, please print your name under your signature to ensure that
25                  HR files your document in the correct HR file. As indicated
26                  below: Signing the Agreement signifies that you understand
27                  you have the option to opt out and that if you do not opt out on
28                  or before March 1, 2016 you will be deemed to have accepted
                                                                          DEFENDANTS’ PETITION TO
     Case No. 8:19-cv-00060-JVS-ADS             -5-        COMPEL IND. ARBITRATION AND MOTION TO
                                                                            STAY ALL PROCEEDINGS
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1                   the Agreement.
                        A          You havee the right tto opt out oof the arbiitration
2                   progrram if you wish. To do so, pleaase read thhe instructiions in
3                   the em
                         mail below
                                  w.
4    Myers Decl.
           D     ¶ 4, Exhs.
                      E     A-1 & A-2 (em
                                        mphasis andd highlightting in origginal); Berrger Decl. ¶
5    7, Exh. D.
6           On
            O March 1,
                    1 2016 at 3:41
                              3    p.m., Myers sennt still anotther email containingg the same
7    text and
            d attachmen
                      nts, adding
                                g a remindeer that the signed ackknowledgeements of
8    understaanding sho
                      ould be sen
                                nt in that daay. Myerss Decl. ¶ 5,, Exhs. B-11 & B-2; B
                                                                                      Berger
9                                       d within fivve minutes, stating, “I will turn mine in
     Decl. ¶ 8, Exh. E. Knepper responded
10   tomorro
           ow.” Myerrs Decl. ¶ 6,                  Berger Deecl. ¶ 9, Exh. F. The email
                               6 Exhs. C--1 & C-2; B
11   string, bearing
             b                               g for emphaasis in the original, iss as follow
                     thee yellow hiighlighting                                            ws:
12
13
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1           Ogletree tracked and maintained records of those employees who opted out of the
2    Agreement. Straky Decl. ¶ 8. Nearly 12 percent of the 1,756 recipients opted out,
3    including non-lawyer staff members. Id. In Ogletree’s Orange County office, where
4    Knepper worked, some secretaries, associates, of-counsel, and non-equity shareholders
5    opted out. Id. But Knepper did not opt out and continued her employment thereafter. Id.
6           On July 11, 2017—more than a year after she first received the Arbitration
7    Agreement, and more than six months before she filed these related actions—Knepper
8    forwarded a copy of the original email, the Agreement, and the other attachments to her
9    personal email account: dmknepper@gmail.com. Berger Decl. ¶ 10, Exh. G.
10          C.      Knepper Has Refused To Arbitrate.
11          On December 19, 2017, Ogletree’s counsel of record contacted Knepper’s
12   attorneys, David Sanford and Jill Sanford of then-Sanford Heisler LLP, advised them of
13   the existence of the Agreement, and informed them that Ogletree would move to compel
14   arbitration if Knepper filed suit, as she had threatened, instead of pursuing her claims in
15   arbitration. Abell Decl. ¶ 2.
16          On January 12, 2018, Knepper nonetheless sued Ogletree in the Northern District
17   of California, in what she styled as a class and collective action, alleging, on behalf of
18   female non-equity shareholders, violations of Title VII of the Civil Rights Act of 1964,
19   42 U.S.C. §§ 2000e et seq.; the Equal Pay Act of 1963, 29 U.S.C. § 206; and related
20   California statutes, including California’s Equal Pay Act (Cal. Lab. Code § 1197.5), the
21   Unfair Competition Law (Cal. Bus. & Prof. Code § 17200), and the Labor Code Private
22   Attorneys General Act (Cal. Lab. Code § 2698 et seq.) (“PAGA”). Dkt. 1. On May 11,
23   2018, Knepper filed a First Amended Complaint, adding a cause of action for breach of
24   fiduciary duty and two individual defendants, current Managing Shareholder Charles
25   Matthew Keen and immediate past Managing Shareholder Kim Franklin Ebert. Dkt. 33.
26          On June 25, 2018, Knepper proffered a proposed Second Amended Complaint. It
27   would add as named plaintiffs one former equity shareholder (a signatory to an arbitration
28   agreement), three additional former non-equity shareholders (all based outside of
                                                                         DEFENDANTS’ PETITION TO
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1    California), and additional defendants (one based within and two outside of California).
2    See Dkt. 52-1; Straky Decl. ¶¶ 9.a.-f. Ogletree opposed leave to amend, arguing that
3    amendment was futile because: (i) Knepper’s claims are subject to mandatory arbitration
4    in the Central District, (ii) the claims of the proposed named former equity shareholder,
5    Warren, are subject to binding arbitration, and (iii) venue is not proper in California for
6    the three proposed non-California non-equity shareholders. Dkt. 59.
7           D.      Judge Orrick Found There Was an Agreement to Arbitrate and
8                   Granted Ogletree’s Motion To Transfer To This Court.
9           Ogletree sought to enforce Knepper’s contractual obligation to arbitrate her claims.
10   Because the Agreement’s specified arbitral venue is where the claimant lived and
11   worked—in Knepper’s case, Orange County—Ogletree sought to transfer venue to this
12   Court, the only one with jurisdiction to compel arbitration here under the Federal
13   Arbitration Act. Judge Orrick received briefs and supplemental briefs, and heard oral
14   argument. On January 9, 2019, Judge Orrick issued an order thoroughly analyzing the
15   arbitration program, recognizing its validity, and granting the motion to transfer venue so
16   that Ogletree could proceed in this Court with its petition to compel arbitration and left to
17   this Court the motion for leave to file the proposed Second Amended Complaint. Dkt.
18   74.
19   III.   AFTER RESOLVING THE GATEWAY ISSUES RESERVED FOR A
20          COURT, THIS COURT SHOULD COMPEL INDIVIDUAL
21          ARBITRATION.
22          Only two gateway issues are before this Court: (i) whether the Agreement covers
23   some or all of the claims asserted, and (ii) whether the class/collective-action waiver is
24   enforceable. Both issues should be resolved in Ogletree’s favor, and then the claims that
25   Knepper brings on an individual basis should be ordered to individual arbitration, where
26   Knepper can present her other contentions.
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                                                                         DEFENDANTS’ PETITION TO
     Case No. 8:19-cv-00060-JVS-ADS            -8-        COMPEL IND. ARBITRATION AND MOTION TO
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1           A.      The Federal Arbitration Act Requires Enforcement Of Arbitration
2                   Agreements According To Their Terms.
3           The Federal Arbitration Act, 9 U.S.C. § 1 et seq. (“FAA”), permits a party to a
4    written arbitration agreement to petition for an order compelling the parties to arbitrate. 9
5    U.S.C. § 4. The FAA applies to contracts with employees, except for certain
6    transportation workers. Circuit City Stores, Inc. v. Adams, 532 U.S. 105, 119 (2001).
7           The FAA requires only a minimal nexus to interstate commerce.3 Ogletree
8    manifestly is engaged in interstate commerce with more than 50 offices worldwide, and
9    Knepper’s job at Ogletree was related to that commerce. Straky Decl. ¶¶ 2, 4-5.
10   Domestically, Ogletree has offices in 28 states, the District of Columbia, and the U.S.
11   Virgin Islands. Its lawyers are admitted to practice in over 45 states, the U.S. Virgin
12   Islands, Puerto Rico, and outside of the country. Id. ¶ 2. Its attorneys and staff
13   communicate by telephone, email, U.S. mail, and courier services to clients and others
14   across state lines. Id. Knepper personally has represented clients headquartered in
15   multiple states outside of California; traveled and communicated across California state
16   lines to conduct business; attended Ogletree firm retreats and other functions outside of
17   California; and represented employers in employment litigation in both California and
18   Texas. Id. ¶ 5. The Agreement specifically acknowledges that it “is made in the course
19   of interstate commerce [and] that any arbitration under this Agreement is governed by the
20   Federal Arbitration Act, 9 U.S.C. § 1 et seq.” Id. ¶ 6, Exh. C, p. 11, § 9.
21          The FAA “reflects a ‘liberal federal policy’ in favor of arbitration.” Davis v.
22   Nordstrom, Inc., 755 F.3d 1089, 1092 (9th Cir. 2014), quoting AT&T Mobility LLC v.
23   Concepcion, 563 U.S. 333, 339, 346 (2011). Where a dispute falls within the scope of an
24   agreement to arbitrate, the FAA requires the district court to direct the parties to arbitrate.
25   Dean Witter Reynolds, Inc. v. Byrd, 470 U.S. 213, 218 (1985).
26   3
       The Supreme Court has interpreted the FAA’s test—“involving commerce,” 9 U.S.C.
27   § 2—as words of art that signal the broadest permissible exercise of Congress’
     Commerce Clause power. See Allied-Bruce Terminix Cos., Inc. v. Dobson, 513 U.S. 265,
28   274-77 (1995) (applying the FAA to a termite-extermination contract applicable to one
     single-family home).
                                                                          DEFENDANTS’ PETITION TO
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1           B.      This Court Should Resolve In Ogletree’s Favor The Two Gateway
2                   Questions Properly Before The Court.
3           Only two questions are properly before this Court, and their resolution is
4    straightforward.
5                   1.     The Agreement covers the claims here asserted.
6           A court addressing a motion to compel arbitration must decide as a gateway issue
7    “whether the agreement encompasses the dispute at issue.” Davis v. Nordstrom, Inc., 755
8    F.3d 1089, 1092 (9th Cir. 2014), citing Kilgore v. KeyBank, Nat’l Ass’n, 718 F.3d 1052,
9    1057 (9th Cir. 2013) (en banc). Here, it plainly does.
10          The Agreement explicitly requires “final and binding arbitration” of “all disputes
11   between [Knepper and Defendants Firm and shareholders], including without limitation
12   those relating to employment with the Firm or separation therefrom.” Straky Decl. ¶ 6,
13   Exh. C, p. 10 (emphasis added). Every count in the First Amended Complaint relates to
14   employment with Ogletree. Counts 1 through 6 allege discrimination, inter alia, in
15   compensation and/or promotion under myriad federal and state statutes; count 7 alleges
16   breach of fiduciary duty arising from such alleged discrimination; and counts 9 and 10
17   allege retaliation for exercising rights to object to the alleged discrimination. First Am.
18   Compl. (Dkt. 33) ¶¶ 174-258, at pp. 30:16-41:25. The Agreement plainly covers all of
19   these claims.
20                  2.     The class/collective-action waiver is enforceable.
21          The Agreement contains an express class/collective-action waiver (collectively,
22   “class-action waiver”). It prohibits “consolidat[ion] [of] the claims of other individuals
23   into a single proceeding,” “a class, collective action, or representative action,” and an
24   award of relief “to a class or group of claimants.” Straky Decl. ¶ 6, Exh. C, p. 11, § 6.
25          Whether the class-action waiver is enforceable is a gateway question of
26   arbitrability for this Court to decide. First, the Agreement itself so provides. Id., Exh. C,
27   pp. 10-11, § 6 (avoiding potential ambiguity about class and collective actions by stating:
28   “Notwithstanding anything herein or in AAA’s rules to the contrary, any dispute relating
                                                                         DEFENDANTS’ PETITION TO
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1    to the interpretation, applicability, or enforceability, of this paragraph shall be resolved
2    by a court only and shall not be within the power of the arbitrator to resolve.”) (emphasis
3    added). The Ninth Circuit endorsed a substantively identical delegation provision that
4    reserved for the court challenges to a class and collective action waiver. Mohamed v.
5    Uber Techs., Inc., 848 F.3d 1201, 1213-14 (9th Cir. 2016). If anything, the Ogletree
6    Agreement is more clear than the Uber agreement.
7           Second, the issue is one for the court even without such a provision. The Ninth
8    Circuit in Eshagh v. Terminix Int’l Co., 588 F. App’x 703, 704 (9th Cir. 2014) treated the
9    class-action issue as a gateway question of arbitrability for the court to decide. Accord,
10   e.g., Catamaran Corp. v. Towncrest Pharmacy, 864 F.3d 966, 971-73 (8th Cir. 2017)
11   (“[T]he question of class arbitration belongs with the courts as a substantive question of
12   arbitrability.”; “To overcome the presumption [that the question belongs with the court],
13   the parties must clearly and unmistakably delegate the question to an arbitrator.”);
14   Chesapeake Appalachia, LLC v. Scout Petroleum, LLC, 809 F.3d 746, 754, 756, 758, 761
15   (3d Cir. 2016) (availability of classwide arbitration is a question of arbitrability for the
16   court because “it implicates whose claims the arbitrator may adjudicate as well as what
17   types of controversies the arbitrator may decide” (internal quotation marks omitted);
18   plaintiff has “the onerous burden” of producing “clear[] and unmistakabl[e]” evidence
19   “overcoming the presumption in favor[] of judicial resolution of the question of class
20   arbitrability”).
21          The United States Supreme Court and California Supreme Court both have ruled
22   that class-action waivers are enforceable, and that federal law preempts any state law to
23   the contrary. Epic Sys. Corp. v. Lewis, 138 S. Ct. 1612, 1619 (2018) (“In the [FAA],
24   Congress has instructed federal courts to enforce arbitration agreements according to
25   their terms—including terms providing for individualized proceedings.”); AT&T Mobility
26   LLC v. Concepcion, 563 U.S. 333, 344, 352 (2011) (the FAA preempts any California
27   public policy against class-action waivers, because state law cannot “stand[] as an
28   obstacle” to enforcing arbitration agreements “according to their terms”); Iskanian v. CLS
                                                                          DEFENDANTS’ PETITION TO
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1    Transp. L.A., LLC, 59 Cal. 4th 348, 366 (2014) (“Concepcion held that the FAA does
2    prevent states from mandating or promoting procedures incompatible with arbitration.
3    [California’s] Gentry rule runs afoul of this latter principle. We thus conclude in light of
4    Concepcion that the FAA preempts the Gentry rule.”).
5           It is true, of course, that under the current state of the law, a waiver of
6    representative claims under PAGA is deemed unenforceable and not FAA-preempted.
7    Iskanian, 59 Cal. 4th at 384, 388-89; Sakkab v. Luxottica Retail N. Am., Inc., 803 F.3d
8    425, 439 (9th Cir. 2015).4 As such, the PAGA representative claim asserted in count 8
9    here is excluded at this time from coverage by the Agreement, which provides in Section
10   2 that “disputes and actions excluded from this Agreement are . . . claims for which this
11   Agreement would be invalid as a matter of law.”5
12          Alternatively, the Agreement’s reference to a PAGA claim (i.e., the words “or
13   representative action” in Section 6) should be severed from the Agreement and the
14   remainder enforced in full. The Agreement itself so provides:
15                  Section 12: Miscellaneous. If any provision of this Agreement
16                  is deemed invalid or unenforceable, such provision shall be
17                  modified automatically to the minimum extent necessary to
18                  render the Agreement valid and enforceable. If a provision
19                  conflicts with a mandatory provision of applicable law, the
20                  conflicting provision shall be severed automatically and the
21                  remainder of the Agreement construed to incorporate the
22                  mandatory provision. In the event of such automatic severance
23
24   4
       The Ninth Circuit held, however, that “The California Supreme Court’s decision in
     Iskanian expresses no preference regarding whether individual PAGA claims are litigated
25   or arbitrated. It provides only that representative PAGA claims may not be waived
     outright. 59 Cal. 4th at 384, 173 Cal.Rptr.3d 289, 327 P.3d 129. The Iskanian rule does
26   not prohibit the arbitration of any type of claim.” Sakkab, 803 F.3d at 434.
     5
27     Defendants reserve the right to contend that a PAGA representative-action waiver is in
     fact itself FAA-protected, if and when the U.S. Supreme Court overrules Iskanian and
28   Sakkab. For now, however, Ogletree recognizes that this Court will apply the
     Iskanian/Sakkab rule.
                                                                           DEFENDANTS’ PETITION TO
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1                   and modification with respect to a particular provision, the
2                   remainder of this Agreement shall not be affected. This
3                   Agreement shall be construed as a whole, according to its fair
4                   meaning, and not for or against any Party.
5    Straky Decl. Exh. C, p. 11 (emphasis added).
6            California law disfavors “throw[ing] the [arbitration] baby out with the bath
7    water.” Bolter v. Superior Court, 87 Cal. App. 4th 900, 910 (2001). “[T]he strong
8    legislative and judicial preference is to sever the offending term and enforce the balance
9    of the agreement . . . .” Roman v. Superior Court, 172 Cal. App. 4th 1462, 1477 (2009);
10   see Farrar v. Direct Commerce, Inc., 9 Cal. App. 5th 1257, 1275 (2017) (compelling
11   arbitration after severing the “aspect in which the arbitration provision is substantively
12   unconscionable”). The Ninth Circuit in Poublon v. C.H. Robinson Co., 846 F.3d 1251
13   (9th Cir. 2017), enforced an agreement following severance of multiple provisions:
14   “Poublon argues that an agreement is necessarily permeated by unconscionability if more
15   than one clause in the agreement is unconscionable or illegal. We disagree . . . .” Id. at
16   1273.
17           In sum, the class-action waiver is not a proper basis to decline to enforce the
18   Agreement.
19           C.     This Court Should Compel Knepper To Individual Arbitration.
20           Knepper has contended that (i) she did not know an arbitration agreement had been
21   presented to her; and (ii) she did not sign an acknowledgment of receipt. After thorough
22   briefing and oral argument, Judge Orrick flatly rejected both contentions, citing, e.g., Cox
23   v. Ocean View Hotel Corp., 533 F.3d 1114, 1120 (9th Cir. 2008) for the proposition that
24   whether Knepper is covered by the Agreement or was excused from failing to opt out are
25   issues to be decided by a court. Judge Orrick’s order aligns with the opinion issued the
26   day before by a unanimous Supreme Court in Henry Schein, Inc. v. Archer & White
27   Sales, Inc., 586 U.S. ___, 2019 WL 122164, at *4 (U.S. Jan. 8, 2019), explaining that
28   “before referring a dispute to an arbitrator, the court determines whether a valid
                                                                          DEFENDANTS’ PETITION TO
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1    arbitration agreement exists. See 9 U. S. C. § 2.” There is no reason to revisit Judge
2    Orrick’s analysis.
3                   1.     Judge Orrick correctly found that Knepper received—and knew
4                          she had received—an arbitration agreement.
5           Judge Orrick reasoned as follows: “Ogletree’s records show that Knepper opened
6    Email Notice 1 and responded to Email Notice 3. That Knepper—an experienced
7    employment law attorney—may not have read or fully comprehended the contents of
8    those emails and their attachments does not preclude a determination that she is bound by
9    the Arbitration Agreement.” Dkt. 74 at 8 (emphasis in original), citing Circuit City
10   Stores, Inc. v. Ahmed, 283 F.3d 1198, 1200 (9th Cir. 2002) (rejecting argument that
11   arbitration agreement was unenforceable even though plaintiff asserted he “did not have
12   the degree of sophistication necessary to recognize the meaning of the opt-out provision
13   or to know how to avoid it”); Brookwood v. Bank of Am., 45 Cal. App. 4th 1667, 1673
14   (1996) (rejecting argument that plaintiff could “rescind a[n] [arbitration] contract simply
15   by proving her unilateral ignorance of the contractual terms”).
16          As Judge Orrick explained, “numerous courts (including from this District) have
17   concluded that employees can be bound by agreements to arbitrate where, like the
18   Notices and Agreement here, the relevant employer documents and communications
19   disclose that an employee’s failure to opt out manifests assent to an ‘implied-in-fact’
20   arbitration agreement.” Dkt. 74 at 9. “For example, in Hicks v. Macy’s Dept. Stores, Inc.,
21   C 06-02345 CRB, 2006 WL 2595941 (N.D. Cal. Sept. 11, 2006) the company twice
22   mailed a packet of information to plaintiff explaining the company’s multi-step dispute
23   resolution program. ‘Step 4’ was mandatory arbitration ‘if the employee agreed to be
24   bound by arbitration.’” Dkt. 74 at 9. The Hicks plaintiff did not return the opt-out form
25   either time. “[O]n those facts,” Judge Orrick recounted, “‘plaintiff impliedly agreed to
26   arbitrate his employment-related claims. Plaintiff’s assertion that he did not intend to
27   enter into an arbitration agreement with Macy’s is incredible in light of plaintiff’s failure
28   to explain why he did not return the opt out form.’” Dkt. 74 at 9; see also Castro v.
                                                                         DEFENDANTS’ PETITION TO
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1    Macy’s, Inc., No. C 16-5991 CRB, 2017 WL 344978, at *3 (N.D. Cal. Jan. 24, 2017) (no
2    affirmative agreement needed; the agreement was implied where employee failed to opt
3    out); Aquino v. Toyota Motor Sales USA, Inc., No. 15-cv-05281-JST, 2016 WL 3055897,
4    at *4 (N.D. Cal. May 31, 2016) (“it is undisputed that Ms. Aquino received the
5    Agreement (at least via email), that she failed to opt out of it, and that she continued to
6    work at Toyota after the Agreement went into effect. . . . Moreover, Ms. Aquino does not
7    argue that she ever attempted to communicate her lack of consent to the Agreement to
8    Toyota in any way. Under California law, these facts establish an enforceable agreement
9    between Ms. Aquino and Toyota.”); Circuit City Stores, Inc. v. Najd, 294 F.3d 1104,
10   1106, 1109 (9th Cir. 2002) (arbitration agreement formed where the employees had to
11   acknowledge receipt of the information packet but were not required to affirmatively
12   agree to be bound; because the acknowledgement form clearly explained the right to and
13   consequence of failing to opt out, “inaction is indistinguishable from overt acceptance”
14   and “Najd assented to the [agreement] by failing to exercise his right to opt out of the
15   program.”); Davis v. Nordstrom, Inc., 755 F.3d 1089, 1093 (9th Cir. 2014) (“Where an
16   employee continues in his or her employment after being given notice of the changed
17   terms or conditions, he or she has accepted those new terms or conditions.”).
18          Judge Orrick also noted Knepper’s experience as an employment lawyer.
19   “Knepper’s experience as an employment law attorney is significant and weighs in favor
20   of concluding that she is facially covered by the Arbitration Agreement.” Dkt. 74 at 10.
21          Even employees much less educated than Knepper bind themselves with opt-out
22   agreements. In Circuit City Stores, Inc. v. Ahmed, 283 F.3d 1198 (9th Cir. 2002), for
23   example, plaintiff alleged that “he did not have the degree of sophistication necessary to
24   recognize the meaning of the [arbitration commitment].” Id. at 1200. The court
25   nevertheless enforced the arbitration contract, applying “the general rule . . . that one . . .
26   cannot complain of unfamiliarity with the language of the instrument.” Id. (citation and
27   internal quotation marks omitted). See generally 1 Witkin, Summary of Cal. Law (10th
28   Ed. 2005) Contracts, § 118, p. 157 (“Ordinarily, one who accepts or signs an instrument,
                                                                          DEFENDANTS’ PETITION TO
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1    which on its face is a contract, is deemed to consent to all its terms and cannot escape
2    liability on the ground that he or she has not read it.”).
3                   2.     Judge Orrick correctly held that an arbitration agreement was
4                          formed without a signed acknowledgment of receipt.
5           Some of the language used by Ogletree in its Notices, as well as the internal emails
6    sent among Ogletree’s HR personnel, show that Ogletree hoped that each covered
7    individual would acknowledge receipt of the Agreement. Judge Orrick explained,
8    however, that the documents all “explain that the signature indicates only that the signer
9    understood that the signer had the right to opt out of the arbitration program.” Dkt. 74 at
10   12 (emphasis in original). Judge Orrick then cited the critical language in each one:
11                  See Arbitration Agreement (“Special Note: This Agreement is
12                  an important document that affects your legal rights. You
13                  should familiarize yourself with it. By signing below, you
14                  acknowledge that you understand you have the option to opt out
15                  of this Agreement by returning an Opt Out form to the Director
16                  of Human Resources on or before March 1, 2016 and that
17                  failure to return an Opt Out form and remaining in the
18                  employment of the Firm after that date will be deemed an
19                  acceptance of this Agreement.”); see also Email Notice 1
20                  (“Please sign and return a copy of the Mutual Arbitration
21                  Agreement to your Office Administrator. Signing the
22                  Agreement signifies that you understand you have the option
23                  to opt out and that if you do not opt out on or before March 1,
24                  2016 you will be deemed to have accepted the Agreement.”);
25                  Email Notice 2 (“As indicated below: Signing the Agreement
26                  signifies that you understand you have the option to opt out and
27                  that if you do not opt out on or before March 1, 2016 you will
28                  be deemed to have accepted the Agreement.”); Email Notice 3
                                                                          DEFENDANTS’ PETITION TO
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1                   (same).
2    Id.
3           Contract formation occurred not by any signature, but by continuing to work.
4    Judge Orrick explained that Knepper was advised in three separate places that signing the
5    Agreement was only necessary to acknowledge receipt of the materials, not to assent to
6    them. Id. at 4-5. The cover email explained:
7                   Please sign and return a copy of the Mutual Arbitration
8                   Agreement to your Office Administrator. Signing the
9                   Agreement signifies that you understand you have the option
10                  to opt out and that if you do not opt out on or before March 1,
11                  2016 you will be deemed to have accepted the Agreement.
12   Id. at 4; Straky Decl., Exh. A, p. 7 (emphasis in original). The Agreement itself stated:
13                  Special Note: This Agreement is an important document that
14                  affects your legal rights. You should familiarize yourself with
15                  it. By signing below, you acknowledge that you understand you
16                  have the option to opt out of this Agreement by returning an
17                  Opt Out form to the Director of Human Resources on or before
18                  March 1, 2016 and that failure to return an Opt Out form and
19                  remaining in the employment of the Firm after that date will be
20                  deemed an acceptance of this Agreement.
21   Dkt. 74 at 5; Straky Decl., Exh. C., p. 11 (emphasis in original). And both of the Orange
22   County Office Administrator’s reminder emails to Knepper stated:
23                  If you haven’t already done so, . . . sign and return a copy of the
24                  Mutual Arbitration Agreement to me as soon as possible. Also,
25                  please print your name under your signature to ensure that HR
26                  files your document in the correct HR file. As indicated below:
27                  Signing the Agreement signifies that you understand you have
28                  the option to opt out and that if you do not opt out on or before
                                                                           DEFENDANTS’ PETITION TO
     Case No. 8:19-cv-00060-JVS-ADS             -17-        COMPEL IND. ARBITRATION AND MOTION TO
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1                    March 1, 2016 you will be deemed to have accepted the
2                    Agreement.
3
                     You have the right to opt out of the arbitration program if you
4
                     wish. To do so, please read the instructions in the email below.
5
     Dkt. 74 at 5; Myers Decl. ¶¶ 4-5, Exhs. A-1, A-2, B-1 & B-2 (emphasis and highlighting
6
     in original).
7
            Here, Judge Orrick noted, Knepper “did . . . affirmatively acknowledge receipt of
8
     notice about both the arbitration program and the right to opt out when she responded on
9
     March 1, 2016 to Email Notice 3. She says that she cannot currently recall her
10
     understanding of or knowledge of what she meant by that response, but that does not alter
11
     her acknowledgement of receipt of the information on that date.” Dkt. 74 at 11. Judge
12
     Orrick found inapposite cases declining to enforce arbitration agreements where the
13
     employers expressly sought or required written employee consent to an arbitration
14
     agreement and failed to obtain it. Dkt. 74 at 12 n.8.
15
            D.       The Agreement Lawfully Delegated To The Arbitrator Knepper’s
16
                     Unconscionability Claim.
17
            Knepper apparently contends that there is something unconscionable about the
18
     Agreement. There is no merit to such a contention, as Ogletree demonstrated previously
19
     in this case (Dkt. 66, Defs.’ Br. 10-14). But this Court need not consider those issues
20
     here, because the Agreement delegated that issue (and others) to the Arbitrator.
21
                     1.    Parties to an arbitration agreement lawfully may delegate to the
22
                           arbitrator even gateway questions of arbitrability.
23
            Just weeks ago, the Supreme Court reiterated that the FAA “allows parties to agree
24
     by contract that an arbitrator, rather than a court, will resolve threshold arbitrability
25
     questions . . . .” Henry Schein, Inc., 586 U.S. ___, 2019 WL 122164, at *2. Even
26
     gateway issues may be delegated to the arbitrator where “the parties clearly and
27
     unmistakably [so] provide.” Brennan v. Opus Bank, 796 F.3d 1125, 1130 (9th Cir. 2015)
28
                                                                           DEFENDANTS’ PETITION TO
     Case No. 8:19-cv-00060-JVS-ADS             -18-        COMPEL IND. ARBITRATION AND MOTION TO
                                                                             STAY ALL PROCEEDINGS
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1    (citing AT&T Techs., Inc. v. Commc’ns Workers of Am., 475 U.S. 643, 649 (1986)
2    (emphasis in original)); accord Rent-A-Center, W., Inc. v. Jackson, 561 U.S. 63, 79
3    (2010) (where an agreement contains a “delegation [provision that] is clear and
4    unmistakable” and plaintiff alleges the entire agreement is invalid, the arbitrator shall
5    decide the issues, except where plaintiff challenges the delegation provision itself).
6           The Ninth Circuit’s recent decision in Mohamed v. Uber Techs., Inc., 848 F.3d
7    1201 (9th Cir. 2016) is illustrative. Uber’s arbitration agreement, like the Agreement
8    here, delegated to the arbitrator all arbitrability challenges, except for challenges to the
9    waiver of class and collective actions. Id. at 1208. The Ninth Circuit enforced the
10   delegation because the clause describing the scope constituted a lawful “clear and
11   unmistakable” delegation to the arbitrator of most enforceability issues. Id. at 1208-9.
12                  2.      Knepper’s Agreement similarly delegated to the arbitrator most
13                          enforceability issues, including any question of unconscionability.
14          The Agreement provides:
15                  Section 6: Authority of the Arbitrator. Except as provided
16                  below, the arbitrator shall have the authority to resolve any
17                  dispute relating to the interpretation, applicability,
18                  enforceability, or formation of this Agreement, including
19                  without limitation any claim that the Agreement is void or
20                  voidable.
21   Straky Decl. Exh. C, pp. 10-11, § 6 (emphasis added).
22          Knepper’s Agreement does exactly what Uber’s agreement did: delegate all
23   enforceability issues to the arbitrator, except (as shown above) those pertaining to the
24   waiver of any right to participate in class and collective actions. As Judge Orrick held:
25   “Her substantive unconscionability arguments are . . . questions [that] are to be resolved
26   by the arbitrator.” Dkt. 74 at 14. “The delegation provision is clear and not
27   unconscionable. Knepper’s arguments challenging the Agreement must be resolved by
28   the arbitrator.” Id.
                                                                           DEFENDANTS’ PETITION TO
     Case No. 8:19-cv-00060-JVS-ADS             -19-        COMPEL IND. ARBITRATION AND MOTION TO
                                                                             STAY ALL PROCEEDINGS
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1    IV.    THE COURT SHOULD DENY WITHOUT PREJUDICE THE PENDING
2           MOTION FOR LEAVE TO AMEND AND STAY THE PAGA
3           REPRESENTATIVE CLAIM AND ALL OTHER PROCEEDINGS
4           PENDING THE OUTCOME OF ARBITRATION.
5           A.      The PAGA Representative Claim Should Be Stayed Pending The
6                   Arbitration.
7           Knepper, the only party plaintiff, is bound to arbitrate. The FAA directs courts to
8    stay all proceedings pending completion of the arbitration. See 9 U.S.C. § 3 (courts
9    “shall on application of one of the parties stay the trial of the action until such arbitration
10   has been had in accordance with the terms of the agreement”). Given that Knepper’s
11   PAGA representative claim is derivative of her remaining claims, the Court should stay
12   the PAGA representative claim pending the outcome of the parties’ arbitration. Doing so
13   would serve the interests of justice, avoid prejudice to either party, and conserve party
14   and court resources by eliminating the cost of dual proceedings and avoiding the
15   possibility of inconsistent outcomes.6
16          Courts faced with arbitrable claims combined with a nonarbitrable PAGA
17   representative claim routinely stay the PAGA action while the arbitration proceeds. See,
18   e.g., Jenkins v. Sterling Jewelers, Inc., No. 17cv1999-MMA (BGS), 2018 WL 922386, at
19   *8 (S.D. Cal. Feb. 16, 2018) (granting motion to compel arbitration of non-PAGA claims
20   and staying PAGA claims pending the outcome of the arbitration; ‘“Plaintiff’s PAGA
21   claims are derivative in nature of her substantive claims that will proceed to arbitration,
22   and the outcome of the nonarbitrable PAGA claims will depend upon the arbitrator’s
23   decision.’”) (citations omitted); Taft v. Henley Enters., Inc., No. SACV 15–1658–JLS
24   (JCGx), 2016 WL 9448485, at *10 (C.D. Cal. Mar. 2, 2016) (granting motion to compel
25
     6
26     Defendants reserve the right to contend that the representative-action waiver is in fact
     itself FAA-protected, move to compel arbitration of Knepper’s individual PAGA claim
27   (if any), and move for dismissal of the PAGA representative claim if and when the
     Supreme Court overrules Iskanian v. CLS Transportation Los Angeles, LLC, 59 Cal. 4th
28   348 (2014) and Sakkab v. Luxottica Retail North America, Inc., 803 F.3d 425 (9th Cir.
     2015).
                                                                          DEFENDANTS’ PETITION TO
     Case No. 8:19-cv-00060-JVS-ADS            -20-        COMPEL IND. ARBITRATION AND MOTION TO
                                                                            STAY ALL PROCEEDINGS
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1    arbitration of plaintiff’s individual non-PAGA claims and staying all proceedings during
2    arbitration, including plaintiff’s PAGA claim); Alvarez v. AutoZone, Inc., No. EDCV 14–
3    02471–VAP (SPx), 2015 WL 13427751, at *2-3 (C.D. Cal. July 8, 2015) (granting
4    motion to stay plaintiff’s PAGA claims pending arbitration of individual claims: “The
5    Court finds that it would be economical for the Court, and both parties, if the PAGA
6    claims were stayed. This course of action would circumvent simultaneous and
7    duplicative litigation of the same set of issues, facts, and questions of law.”).
8           B.      The Court Should Deny The Pending Motion For Leave To Amend And
9                   Stay All Other Proceedings Pending The Arbitration.
10          Knepper’s motion for leave to file a Second Amended Complaint (Dkt. 52-1) does
11   not change the analysis. That motion should be denied without prejudice, or
12   alternatively, stayed as well.
13          Therein, Knepper attempts to add as named plaintiffs three non-California former
14   non-equity shareholders who never worked in this District. Id.; Straky Decl. ¶ 9.b.-d.
15   This Court is not the proper venue for the claims they propose to assert. The three seek
16   to join only claims for violation of the Equal Pay Act (proposed count 3) and breach of
17   fiduciary duty (proposed count 7), but they cannot tether themselves in California to
18   Knepper because she, too, cannot litigate those claims in this Court. Rather, Knepper
19   may pursue those claims only in arbitration. As Ogletree explained in its Opposition to
20   the Motion for Leave to Amend, Dkt. 59 at 1:9-2:28 and 7:1-8:17, venue for the non-
21   California plaintiffs on their two proposed claims lies in Texas (Voltmer) or Colorado
22   (Campanaro and Ochoa). See 28 U.S.C. § 1391(b) (venue proper in a judicial district in
23   which a substantial part of the events or omissions giving rise to the claim occurred);
24   Straky Decl. ¶ 9.b.-d.
25          Knepper’s motion for leave also seeks to add one California plaintiff, former equity
26   shareholder Tracy Warren, who worked out of a San Diego office but was
27   administratively assigned to Ogletree’s Orange County office. Dkt. 52-1; Straky Decl. ¶
28   9.a. Warren and all other equity shareholders are signatories to the Shareholder
                                                                          DEFENDANTS’ PETITION TO
     Case No. 8:19-cv-00060-JVS-ADS            -21-        COMPEL IND. ARBITRATION AND MOTION TO
                                                                            STAY ALL PROCEEDINGS
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1    Management Agreement that requires arbitration of Warren’s (and all equity
2    shareholders’) claims “in or near the city in which Shareholder . . . was last employed by
3    [Ogletree].” See Dkt. 59-1 (Gicking Decl.) ¶ 2, Exh. A, p. 32, § 9.04. Section 9.06 of the
4    Shareholder Management Agreement’s arbitration article contains a class/collective-
5    action waiver. Id., Exh. A., p. 33, § 9.06. Thus, Warren’s individual claims likewise
6    belong in arbitration, and the three non-Californians cannot tether their Equal Pay Act
7    and fiduciary duty claims to her, either.
8           Issues like these recur in the cases, and courts consistently compel arbitration
9    without ruling on a motion to amend to add new plaintiffs or denying such motions.
10   Green v. Zachry Indus., Inc., 36 F. Supp. 3d 669 (W.D. Va. 2014), a putative class action,
11   is precisely on point. Plaintiff Green had an enforceable pre-dispute arbitration
12   agreement. She sought to amend the complaint to add two new named plaintiffs. The
13   court granted defendant’s motion to compel arbitration and denied plaintiff’s motion for
14   leave to amend. Because there is “a valid and enforceable arbitration agreement,” it
15   follows that “this case will be stayed in favor of arbitration, [and] the plaintiff’s motion
16   for leave to add party plaintiffs and amend the complaint will be denied.” Id. at 678-79.
17          Other cases hold similarly. See, e.g., Castle v. Wells Fargo Fin., Inc., No. C 06-
18   4347 SI, 2007 WL 703609, at *3 (N.D. Cal. Mar. 5, 2007) (after defendant moved to
19   compel arbitration against the named plaintiff and plaintiff moved to amend the
20   complaint to add additional class representatives, the court held that “the better course is
21   to first determine the enforceability of the arbitration agreements . . . . Accordingly, the
22   Court DENIES plaintiff’s motion[] [to amend] without prejudice to renewal
23   [later].”); Wen-Chouh Lin v. Brodhead, No. 1:09CV882, 2012 WL 4793710, at *7
24   (M.D.N.C. Oct. 9, 2012) (deciding arbitration issue first and deferring ruling on motions
25   to amend the complaint; “Should the Court determine that an agreement to arbitrate exists
26   between the Parties, the Court would lack jurisdiction to address Plaintiff’s Motions to
27   Amend.”); Denari v. Rist, No. 10–cv–2704, 2011 WL 332543, at *11 n.5 (N.D. Ill. Jan.
28   31, 2011) (“In view of the dismissal of this case on the ground that Plaintiff’s claims are
                                                                         DEFENDANTS’ PETITION TO
     Case No. 8:19-cv-00060-JVS-ADS              -22-     COMPEL IND. ARBITRATION AND MOTION TO
                                                                           STAY ALL PROCEEDINGS
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1    subject to arbitration, the Court declines to address Plaintiff’s request for leave to amend
2    his complaint . . . .”); cf. Thome v. U.S. Food & Drug Admin., No. C 11–00676 PSG,
3    2011 WL 3206910, at *2 (N.D. Cal. July 27, 2011) (because the named plaintiff could
4    not proceed with plaintiff’s claim in court, the court declined to consider a proposed
5    amended complaint adding a new plaintiff).
6    V.      CONCLUSION
7            Defendants request that this Court compel Knepper to arbitrate the claims she
8    brought on an individual basis, and stay the PAGA representative claim (in count 8) and
9    all other proceedings and issues pending the completion of the arbitration. Knepper’s
10   motion for leave to file a Second Amended Complaint (Dkt. 52-1) should be denied
11   without prejudice, or alternatively, stayed as well.
12
13   DATED: January 22, 2019                         PAUL HASTINGS LLP
14
15                                                   By:             /s/ Nancy L. Abell
                                                                       Nancy L. Abell
16
17
                                                     By:            /s/ Paul W. Cane, Jr.
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                                                                           DEFENDANTS’ PETITION TO
     Case No. 8:19-cv-00060-JVS-ADS           -23-          COMPEL IND. ARBITRATION AND MOTION TO
                                                                             STAY ALL PROCEEDINGS
